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                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA




         JANET GARCIA, et al.,                 CV 19-6182 DSF (PLAx)
             Plaintiffs,

                        v.                     Order GRANTING Plaintiffs’
                                               Motion for a Preliminary
         CITY OF LOS ANGELES, et al.,          Injunction (Dkt. 38)
              Defendants.



            Plaintiffs Pete Diocson Jr., Marquis Ashley, and Ktown for All
     (KFA) move for an order enjoining Defendant City of Los Angeles (the
     City) from enforcing Los Angeles Municipal Code (LAMC) Sections
     56.11(3)(i) and 56.11(10)(d). Dkt. 38 (Mot.). 1 The City opposes. Dkt. 42


     1 After the Motion was filed, Plaintiffs filed a Second Amended Complaint
     (SAC). Dkt. 43. Plaintiff contends the SAC did not change the allegations
     relevant to this Motion, and therefore the Court can consider the Motion. See
     Dkt. 50 (Pls.’ SAC Statement) at 2. The City argues that the filing of the
     SAC moots the Motion. Dkt. 51 (Def.’s SAC Statement) at 4. Specifically, the
     City notes that the relevant amended causes of action (the First and Fourth
     Causes of Action) now include the allegation that Plaintiffs “are entitled to an
     injunction, enjoining the City from continuing to enforce this unconstitutional
     law.” SAC ¶¶ 248, 258. Although Plaintiffs’ inclusion of this allegation is
     helpful in clarifying their allegations, it does not affect the relief requested.
     The First Amended Complaint (FAC) specifically sought “an order enjoining
     and restraining Defendants from engaging in the policies, practices, and
     conduct complained of herein, including an order enjoining and restraining
     the City from enforcing the challenged provisions of Los Angeles Municipal
     Code Section 56.11.” Dkt. 20 (FAC), Prayer for Relief ¶ 3. Therefore, the
     City has not shown how the amendment has a material effect on the relief
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     (Opp’n). The Court deems this matter appropriate for decision without
     oral argument. See Fed. R. Civ. P. 78; Local Rule 7-15.

                           I. FACTUAL BACKGROUND 2

     A.    The Challenged Ordinance

           LAMC Section 56.11 (the Ordinance) regulates the storage of
     personal property in public areas. Its stated purpose is to “balance the
     needs of the residents and public at large to access clean and sanitary
     public areas . . . with the needs of the individuals, who have no other
     alternatives for the storage of personal property, to retain access to a
     limited amount of personal property in public areas.” LAMC § 56.11(1).
     In most situations, the City is authorized to impound personal property
     in a public area so long as the City provides pre-removal and post-
     removal notice. See, e.g., LAMC § 56.11(3)(a)-(b). In other situations,
     including where the property obstructs City operations or interferes
     with the City’s compliance with the Americans with Disabilities Act of
     1990 (ADA), only post-removal notice is required to impound personal
     property. See, e.g., id. § 56.11(3)(c)-(f). There are also limited
     situations where the City can immediately destroy personal property

     requested. For example, in La Jolla Cove Inv’rs, Inc. v. GoConnect Ltd., No.
     11CV1907 JLS (JMA), 2012 WL 1580995 (S.D. Cal. May 4, 2012), cited by the
     City, the amended complaint eliminated the claims forming the basis of the
     motion for preliminary injunction. Id. at *2 (denying application for
     preliminary injunction “because the SAC contains no request for injunctive
     relief or for the issuance of shares”). In the other two cases cited by the City,
     the preliminary injunction was denied as moot when the complaint was
     dismissed. Because the allegations forming the basis for this Motion have
     not materially changed, the Court will consider the Motion.
     2 Each party made objections to the other’s evidence. Dkts. 42-13, 47, 52.
     However, it is well established that district courts may “consider hearsay in
     deciding whether to issue a preliminary injunction.” See Johnson v.
     Couturier, 572 F.3d 1067, 1083 (9th Cir. 2009). Therefore, the Court has
     independently considered the evidence and has given the appropriate weight
     to facts that may be based on inadmissible evidence. The Court has not
     considered facts that are irrelevant.



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     without notice, including when the property “poses an immediate
     threat to the health or safety of the public,” id. § 56.11(3)(g),
     “constitutes evidence of a crime or contraband,” id. §56.11(3)(h), or is a
     “Bulky Item” that is not “designed to be used as a shelter,” id.
     §56.11(3)(i) (Bulky Item Provision). A Bulky Item is “any item, with
     the exception of a constructed Tent, operational bicycle or operational
     walker, crutch or wheelchair, that is too large to fit into a 60-gallon
     container with the lid closed,” but not “a container with a volume of no
     more than 60 gallons used by an individual to hold his or her Personal
     Property.” Id. § 56.11(2)(c). The Ordinance also makes it unlawful for
     any person to “willfully resist, delay or obstruct a City employee from
     removing or discarding a Bulky Item.” Id. § 56.11(10)(d).

           The City enforces the Ordinance through the Bureau of
     Sanitation (Sanitation) and the Los Angeles Police Department
     (LAPD), which conduct noticed cleanups and random rapid responses
     where personal property that does not comply with the Ordinance is
     seized or destroyed. See id. § 56.11(11); Dkt. 42-1 (Guerrero Decl.) ¶¶
     1-2; Dkt. 42-5 (Pereida Decl.) ¶¶ 1-2; Dkt. 42-6 (Wong Decl.) ¶¶ 4-21.
     According to Inter-Departmental Correspondence sent by the
     Sanitation Director, “[b]eginning on January 21, 2020, the CARE
     program 3 will fully implement the following program adjustments
     citywide[:] . . . Every CARE and CARE+ team will fully enforce LAMC
     56.11 at every location they visit. Compliance means that . . .
     prohibited Items, such as bulky items . . . will be impounded and
     disposed of according to law and policy.” Dkt. 39 (RJN) Ex. 4, at 2. 4




     3 CARE and CARE+ are acronyms for the City’s Comprehensive Cleaning and
     Rapid Engagement Program. Wong Decl. ¶ 2. CARE teams “clean the public
     right-of-way and address enforcement and emergency-response to mitigate
     illegal dumping and/or items stored in the public right-of-way” while CARE+
     teams “provides public health services to encampments.” Id. ¶ 4.
     4The Court GRANTS Plaintiff’s unopposed request for judicial notice of the
     official government reports prepared by Sanitation. Fed. R. Evid. 201(b).



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     B.    Enforcement of the Ordinance Against Individual
           Plaintiffs

           1.     Diocson

           Diocson is 51 years old and has lived in the Harbor City area of
     Los Angeles for the past four or five years. Dkt. 38-5 (Diocson Decl.)
     ¶ 2. Until 2018, Diocson lived near the Harbor City Greenway around
     Lomita Boulevard. Id. ¶¶ 3-4. Diocson later moved to an encampment
     near Lomita and McCoy, where he lives with his dog Bella. Id. ¶¶ 5-6.

            On the morning of April 24, 2019, LAPD and Sanitation came to
     the area for a noticed sweep. Id. ¶ 8; see also Wong Decl. ¶ 23. Diocson
     had moved Bella out of the area prior to the sweep. Diocson Decl. ¶ 9.
     As Diocson was about the leave the area with his belongings, an LAPD
     officer told Diocson he would have to leave Bella’s kennel behind
     because it was a Bulky Item. Id. ¶¶ 11-12. The City “prepared a report
     [about the April 24 cleanup] documenting the posting, cleanup, and
     health hazard assessments as part of their regular duties.” Wong Decl.
     ¶ 24 & Ex. 4. The report identifies a pet cage as contaminated and did
     not “identify the pet cage as a bulky item.” Id. ¶ 26 & Ex. 4, at 76, 90. 5

           Diocson was able to get a new dog kennel, but it was also
     destroyed by Sanitation in late 2019 as part of a clean-up. Diocson
     Decl. ¶¶ 14-15. Diocson has not tried to get a third kennel because he
     believes the City will just take it again. Id. ¶ 16.

           Diocson also has a storage bin that he is worried the City will
     consider a Bulky Item and destroy because City workers have


     5It is not clear that this pet cage belonged to Diocson. The identified pet cage
     was listed as “unattended,” Wong Decl. Ex. 4, at 76, even though Diocson
     declares he was present at the time of the cleanup and that his other
     belongings were stacked on top of the kennel as he was about to carry them
     out of the area. Diocson Decl. ¶¶ 10-12. And unlike the picture
     authenticated by Ashley, the picture authenticated by Diocson, see Wong
     Decl. Ex. 6, at 120-21; Diocson Decl. ¶ 12 & Ex. A, does not have any
     description tying it to one of the locations in the report.



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     destroyed other bins that were the same size. Id. ¶ 17. When the City
     destroyed his prior bin (and other items of similar size), the City told
     him that “they are bulky items and that’s why they are taking them
     and throwing them away.” Id.

           2.     Ashley

           Ashley is 29 years old and has been homeless for years. Dkt. 38-2
     (Ashley Decl.) ¶ 2. In his spare time, he makes carts out of bicycle and
     wheelchair wheels so that he can move his (and other’s) belongings
     from place to place and carry groceries and other supplies from the
     stores to where he is staying. Id. ¶¶ 3, 5-6.

           On May 21, 2019, while he was staying at a large encampment on
     Lomita and McCoy in the Harbor City area of Los Angeles, Sanitation
     conducted a noticed cleanup. Id. ¶ 8; see also Wong Decl. ¶ 23. During
     the cleanup, a sanitation worker told Ashley that his two carts and
     some bedding were “Bulky Items” that he could not take from the
     cleanup area. Ashley Decl. ¶ 11. An LAPD officer told Ashley that “if
     [he] did not want to go jail, [he] would have to hurry up and move from
     the area,” so he complied. Id. ¶ 12. He was not given any
     documentation about the items he was forced to leave behind, or any
     written explanation of why they were taken. Id. The City, however,
     prepared a report of the cleanup. Wong Decl. ¶ 28 & Ex. 8. 6 The report
     describes an encampment containing a “[m]etal cart and mattress,” but
     does not state that those items were discarded. Id. at 140-141. The
     report includes a picture of those items with a caption identifying the
     cart and mattress as “Location 7 bulky item.” Id. at 149. The


     6 The City appears unsure about which encampment was Ashley’s. See Wong
     Decl. ¶ 30 (describing the items found at location 6 and 7). From the Court’s
     review of the report, it seems clear that Ashley was living at location 7. First,
     the report states that location 6 was “unattended,” id. Ex. 8, at 140, but
     Ashley declared he was there during the cleanup, Ashley Decl. ¶¶ 9-11.
     Second, the picture the report identifies as “Figure 7.a. Location 7 bulky
     item,” Wong Decl. Ex. 8, at 149, was authenticated by Ashley as containing
     his property, Ashley Decl. ¶ 10 & Ex. A.



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     corresponding Health Hazard Checklist does not address the cart. Id.
     at 167.

           Ashley thereafter got a new cart that he uses when he goes to the
     Lomita and McCoy encampment. Ashley Decl. ¶ 17. However, because
     Sanitation comes to that location a “lot,” 7 he worries that Sanitation
     will determine that his cart is a Bulky Item and throw it away. Id.

           3.    KFA

             KFA “was founded in 2018 to support the construction of the
     Bridge Home shelter in Koreatown” and “to support unhoused
     residents, to form connections between housed and unhoused residents
     of Koreatown, and to advocate for housing and shelters and other
     services in the Koreatown community.” Dkt. 38-6 (Nguyen Decl.) ¶ 3.
     It is “integral” to KFA’s mission to “have unhoused persons included in
     our meetings and participating in advocacy.” Id. ¶ 4. KFA spends time
     monitoring cleanups and providing replacement items to people whose
     belongings have been seized and destroyed pursuant to the Ordinance,
     which “takes time and resources away from these other advocacy
     activities.” Id. ¶¶ 6, 10-11. Specifically, KFA has bought or would buy
     tents, cots, mattresses, brooms, socks, sleeping bags, blankets,
     underwear, and warm clothes to replace destroyed property. Id. ¶¶ 11,
     14. KFA additionally facilitates requests for replacement items by
     posting on social media so “community members can buy and replace
     things for our unhoused neighbors,” including “a small cart and a
     cooler” and then a KFA member delivers the items to the unhoused
     resident who needs it. Id. If KFA did not spend time monitoring
     cleanups and providing replacement items, unhoused members would
     have a more difficult time “advocat[ing] for themselves, organiz[ing]
     with [KFA], and ultimately get[ting] into housing.” Id. ¶ 7.

          On February 24, 2020, KFA members had planned to attend a
     meeting about the Bridge Home shelter. Id. ¶ 8; see also Dkt. 38-3


     7Plaintiffs submit evidence that a cleanup was scheduled to occur in this
     area on February 13, 2020. Dkt. 38-1 (Riskin Decl.) Ex. A, at 8.



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     (Price Decl.) ¶ 3. However, on their way to the meeting, one member
     was informed that a cleanup was occurring at 4th and Vermont where
     Kahn, an unhoused resident served by KFA, lived. Price Decl. ¶ 3. 8
     The KFA members then went to monitor the cleanup, instead of the
     meeting. Id. ¶ 5. They also helped Kahn, who is in a wheelchair, pack
     up and move his belongings. Id. ¶¶ 4, 6. However, once Sanitation and
     LAPD arrived, they were told to leave. Id. ¶¶ 7-8. LAPD Officer
     Lucero told them that some of Kahn’s items, including pallets, were
     Bulky Items that could not be taken out of the area. Id. ¶ 9. A
     Sanitation worker also stated that “some of Kahn’s belongings were
     bulky items that would not fit in a 60 gallon container,” including “the
     pallets and a foam cushion that Kahn uses to sleep on.” Id. ¶ 10. The
     items identified by LAPD and Sanitation as Bulky Items were thrown
     away. Id. ¶ 11.

                              II. LEGAL STANDARD

           “A preliminary injunction is an extraordinary remedy never
     awarded as a matter of right.” Winter v. Natural Res. Def. Council, 555
     U.S. 7, 24 (2008). “A plaintiff seeking a preliminary injunction must
     establish that he is likely to succeed on the merits, that he is likely to
     suffer irreparable harm in the absence of preliminary relief, that the
     balance of equities tips in his favor, and that an injunction is in the
     public interest.” Id. at 20. Although a plaintiff seeking a preliminary
     injunction must make a showing on each factor, the Ninth Circuit
     employs a “version of the sliding scale” approach where “a stronger
     showing of one element may offset a weaker showing of another.”
     Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131-35 (9th
     Cir. 2011). Under this approach, a court may issue a preliminary

     8 The City appears to interpret the inclusion of this evidence as KFA seeking
     injunctive relief on behalf of its members or other unhoused residents. Opp’n
     at 8. Nothing in Plaintiffs’ Motion leads the Court to that conclusion.
     Rather, inclusion of this evidence tends to support KFA’s organizational
     standing by providing a recent example where KFA had to divert time and
     resources based on an application of the Bulky Item Provision. The same is
     true for the Bettega Declaration.



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     injunction where there are “serious questions going to the merits and a
     balance of hardships that tips sharply towards the plaintiff . . , , so long
     as the plaintiff also shows that there is a likelihood of irreparable
     injury and that the injunction is in the public interest.” Id. at 1135
     (internal quotation marks omitted). “When the government is a party,
     the last two factors (equities and public interest) merge.” E. Bay
     Sanctuary Covenant v. Trump, 950 F.3d 1242, 1271 (9th Cir. 2020).

                                  III. DISCUSSION

     A.    Standing

           “To seek injunctive relief, a plaintiff must show that he is under
     threat of suffering ‘injury in fact’ that is concrete and particularized;
     the threat must be actual and imminent, not conjectural or
     hypothetical; it must be fairly traceable to the challenged action of the
     defendant; and it must be likely that a favorable judicial decision will
     prevent or redress the injury.” Summers v. Earth Island Inst., 555 U.S.
     488, 493 (2009).

           1.     Individual Plaintiffs

           Diocson and Ashley both declared that when the City took and
     destroyed their property, City employees told them they were doing so
     because those belongings constituted Bulky Items. Diocson Decl. ¶ 12;
     Ashley Decl. ¶ 11. Further, both individuals declared that they now
     possess items the City is likely to deem Bulky Items and that they live
     in an area with frequent cleanups. 9 See Diocson Decl. ¶¶ 15, 17, 19;
     Ashley Decl. ¶¶ 4-5, 17. And the City has stated its intention to enforce
     the Bulky Item Provision until the Court orders otherwise. See RJN
     Ex. 4, at 2 (“Every CARE and CARE+ team will fully enforce LAMC


     9 It does not matter whether the cleanups are noticed cleanups or rapid
     response cleanups; the City relies on the Bulky Item Provision in both
     situations to seize and destroy property. See, e.g., Wong Decl. ¶ 45 (“[B]ulky
     [I]tems are addressed as part of CARE+ posted cleanups or CARE
     enforcement and response to immediate threats to the health and safety of
     the public.”).



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     56.11 at every location they visit. Compliance means that . . .
     prohibited Items, such as bulky items . . . will be impounded and
     disposed of according to law and policy.”); see also Dkt. 48-1 (Suppl.
     Myers Decl.) ¶ 23 & Ex. E. This is sufficient to establish standing.

            The City contends Diocson and Ashley do not have standing
     because they have not submitted conclusive evidence that their
     property has been destroyed pursuant to an application of the Bulky
     Item Provision. See Opp’n at 7; Dkt. 55 (Objs. to Tentative) 10 at 1.
     However, Plaintiffs need not conclusively establish that they have been
     harmed by an application of the Bulky Item Provision in the past, so
     long as it is sufficiently likely that they will be harmed in the imminent
     future. See Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158
     (2014) (“An allegation of future injury may suffice if the threatened
     injury is ‘certainly impending,’ or there is a ‘“substantial risk” that the
     harm will occur.’”). Plaintiffs have sufficiently made that showing by
     submitting evidence that they possess Bulky Items and live near areas
     subject to frequent cleanups and the City has stated its intention to
     “fully enforce LAMC 56.11 at every location they visit” including
     “impound[ing] and dispos[ing] of [Bulky Items] according to law and
     policy.” RJN Ex. 4, at 2.

           In any event, Plaintiffs have submitted evidence that the Bulky
     Item Provision was applied to them in the past. The City argues that
     the reports prepared by its employees stated that the destroyed items
     belonging to Ashley and Diocson were health and safety hazards, not
     Bulky Items, and therefore were not seized and destroyed pursuant to
     the Bulky Item Provision. See Opp’n at 7 (citing Wong Decl. ¶¶ 24-30
     & Exs. 4, 8). This is simply untrue for Ashley’s carts. See Wong Decl.
     Ex. 8, at 140, 167. Further, the City has not adequately demonstrated

     10 The Court notes that the City filed its objections five hours after the
     deadline set by the Court. See Dkt. 53 (“The City may submit objections to
     the tentative ruling (not to exceed five pages) no later than noon on April 6.”).
     Although the Court warned the City that “[i]f no timely objections are filed,
     the tentative order will be the final order,” id., the Court will exercise its
     discretion to consider the City’s objections.



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      that the pet cage referred to in the cited report was Diocson’s property,
      nor does it sufficiently show that the pet cage was destroyed because it
      was a health and safety hazard. The mere listing of a pet cage as
      “contaminated,” Wong Decl. Ex. 4, at 90, does not clearly indicate that
      the item was destroyed because it was a health hazard and not a Bulky
      Item, and the identification of urine and aerosols in the area is not tied
      to the pet cage. Mr. Wong’s conclusion that “[t]he pet cage was
      discarded because of health and safety hazards identified in the
      Report,” Wong Decl. ¶ 26, lacks foundation. Mr. Wong does not declare
      that he was present at the clean-up or spoke with the Environmental
      Compliance Inspectors or other City employees who were present at the
      clean-up and threw away the pet cage. Mr. Wong’s conclusion appears
      to be based on his reading of the report, which is inconclusive.
      Diocson and Ashley have standing. 11

            2.     KFA

             The City contends that although the Court found KFA to have
      sufficiently alleged standing at the pleading stage, it must submit
      “competent evidence establishing organizational standing” at the


      11 The City objects to this conclusion, asserting that it “submitted sworn
      testimony that the items at issue were destroyed for health and safety
      reasons.” Objs. to Tentative at 5. The Court disagrees for the reasons
      discussed above: Mr. Wong lacks foundation to make such a statement and
      the reports authenticated by Mr. Wong do not establish that Plaintiffs’
      property was destroyed for health and safety reasons. Additionally, the
      City’s objections do not address the Court’s conclusion that the report most
      likely tied to Ashley does not state that his cart and bedding were destroyed
      for health and safety reasons. Dkt. 54 (Tentative Order) at 5-6 & n.6.
      Further, the reports are not necessarily “inconsistent with Plaintiffs’
      declarations.” Objs. to Tentative at 2. Assuming that the City could locate
      additional evidence tying the portions of the reports cited by the City to
      Plaintiffs, it is possible both that City employees initially seized Plaintiffs’
      items because they were Bulky Items and that it later discovered that the
      items were contaminated and made a notation reflecting that fact before
      destroying them.



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      preliminary injunction phase and has failed to do so. Opp’n at 7. The
      City cites no cases in support of this additional burden and, in any
      event, is incorrect. KFA’s co-founder Jane Nguyen declared that KFA’s
      mission is to “to support unhoused residents, to form connections
      between housed and unhoused residents of Koreatown, and to advocate
      for housing and shelters and other services in the Koreatown
      community,” that it is “integral” to KFA’s mission to “have unhoused
      persons included in our meetings and participating in advocacy,” that
      the cleanups have caused unhoused residents to lose contact with KFA
      and discouraged them from going to appointments and KFA meetings
      for fear that all of their belongings will be thrown away while they are
      gone, and that KFA has had to spend time monitoring cleanups and
      providing replacement items to people whose belongings have been
      seized and destroyed pursuant to the Ordinance, which “takes time and
      resources away from these other advocacy activities.” Nguyen Decl.
      ¶¶ 3-7, 10-11. Nguyen also declared that she coordinated the
      replacement of “a small cart and a cooler” and provided a cot to an
      unhoused member of KFA and that mattresses destroyed by cleanups
      are “the type of thing Ktown for All would pay to replace.” Id. ¶¶ 11,
      14. 12 And KFA members spent time monitoring a cleanup where
      alleged Bulky Items were taken and thrown away. Price Decl. ¶¶ 9-11;
      see also Dkt. 38-4 (Emmons Decl.) Ex. A. This is sufficient under La
      Asociacion de Trabajadores de Lake Forest v. City of Lake Forest, 624
      F.3d 1083 (9th Cir. 2010). 13


      12 Although Nguyen has declared that KFA has not “directly provided carts or
      crates,” Nguyen Decl. ¶ 11, the items it does provide are often needed because
      of the destruction of a Bulky Item. For example, one homeless individual and
      KFA member, Rachelle Bettega, had storage bins containing two phones,
      cleaning supplies, and clothes that were seized and destroyed as Bulky Items.
      Dkt. 38-7 (Bettega Decl.) ¶ 11. Bettega then had to keep her remaining
      clothes in a garbage bag, which does not protect the clothes from getting wet
      when it rains. Id. ¶ 12. After her clothes got wet, KFA bought new clothes
      for Bettega. Id.
      13The City raises a number of arguments, Opp’n at 7-8, that were explicitly
      considered and rejected in the Court’s prior order, see Dkt. 37 (12(b)(1) Order)


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             The City also objects to Plaintiffs’ standing “to obtain an
      injunction enjoining enforcement of the [Bulky Item] Provision, not
      only as to them, but citywide.” Objs. to Tentative at 1. However, “if the
      arguments and evidence show that a statutory provision is
      unconstitutional on its face,” as the Court concludes Plaintiffs have a
      likelihood of success in establishing here, “an injunction prohibiting its
      enforcement is ‘proper.’” See Whole Woman’s Health v. Hellerstedt,
      136 S. Ct. 2292, 2307 (2016), as revised (June 27, 2016). Moreover, the
      Ninth Circuit has held that “an injunction is not necessarily made
      overbroad by extending benefit or protection to persons other than
      prevailing parties in the lawsuit-even if it is not a class action-if such
      breadth is necessary to give prevailing parties the relief to which they
      are entitled.” Easyriders Freedom F.I.G.H.T. v. Hannigan, 92 F.3d
      1486, 1501-02 (9th Cir. 1996) (quoting Bresgal v. Brock, 843 F.2d 1163,
      1170-71 (9th Cir.1987)). In Easyriders, where plaintiffs challenged a
      California Highway Patrol policy permitting stops of motorcyclists for
      wearing certain helmets, the court noted that “it is unlikely that law
      enforcement officials who were not restricted by an injunction
      governing their treatment of all motorcyclists would inquire before
      citation into whether a motorcyclist was among the named plaintiffs”
      and therefore “the plaintiffs would not receive the complete relief to
      which they are entitled without statewide application of the
      injunction.” Id. at 1502. Similarly, here it is unlikely that City
      employees would inquire before seizing property whether a homeless
      person was a plaintiff in this action. Other district courts considering


      at 7-10. Moreover, the Ninth Circuit has since made even clearer that 1)
      organizations “are not required to demonstrate some threshold magnitude of
      their injuries; one less client that they may have had but-for the Rule’s
      issuance is enough” and 2) a “‘legally protected interest’ need not be a
      statutorily created interest” and “an interest can support standing even if it
      is not protected by law.” E. Bay Sanctuary Covenant, 950 F.3d at 1266-67
      (internal citations and footnote omitted). The City also complains that KFA
      does not differentiate between noticed and unnoticed cleanups. Opp’n at 8.
      However, the City does not explain how this is relevant to standing to
      challenge the Bulky Item Provision, which applies in both situations.



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      similar issues have reached the same conclusion. See, e.g., Justin v.
      City of Los Angeles, No. CV0012352LGBAIJX, 2000 WL 1808426, at *3
      (C.D. Cal. Dec. 5, 2000) (Homeless plaintiffs alleging harassment by
      City employees, including illegal searches and seizures “will not receive
      the complete relief to which they are entitled if the applicability of the
      injunction is narrowed to the named Plaintiffs”).

      B.    Likelihood of Success on the Merits

            1.     Unreasonable Seizures

             Plaintiffs are likely to succeed on the merits of their claim that
      the Bulky Item Provision authorizes unreasonable seizures in violation
      of the Fourth Amendment by permitting the seizure and immediate
      destruction of Bulky Items without a warrant or pursuant to a warrant
      exception or in a way otherwise consistent with the Supreme Court’s
      precedents. See Dkt. 36 (12(b)(6) Order) at 6-12 (analyzing whether
      Plaintiffs had sufficiently alleged a facial challenge to the Bulky Item
      Provision under the Fourth Amendment). The City makes a number of
      arguments in the hope that the Court will reach a different conclusion.
      Each argument fails.

            First, the City argues that “the Bulky Item Provision regulates
      conduct—in public (not private) spaces—not property” by prohibiting
      “the storage of the Bulky Items in public” not—“the Bulky Items
      themselves.” Opp’n at 10. This ignores the plain language of the
      Provision, which authorizes the City to “remove and . . . discard any
      Bulky Item.” LAMC 56.11(3)(i). If the provision merely prohibited the
      storage of Bulky Items in public spaces, the City would not be
      authorized to destroy property that was stored in violation of the
      provision. Lavan v. City of Los Angeles, 693 F.3d 1022, 1029 (9th Cir.
      2012) (“Violation of a City ordinance does not vitiate the Fourth
      Amendment’s protection of one’s property”). 14 As the court in Lavan




      14The City clearly understands this; later in its brief it acknowledges that
      the California anti-dumping statute, California Penal Code § 374.3, which


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      noted, “[w]ere it otherwise, the government could seize and destroy any
      illegally parked car or unlawfully unattended dog without implicating
      the Fourth Amendment.” Id. The question here is not whether the
      City can “limit the size of items that a person can store in a finite
      public space,” Opp’n at 10, but whether it can seize and destroy items
      because they are of a particular size. 15 Plaintiffs have shown they are
      likely to succeed in answering that question in the negative.

             Next, the City argues that there need not be a warrant or
      applicable warrant exception before seizing and destroying Bulky Items
      because it is reasonable to do so when “balanc[ing] the competing
      interests,” such as “the public’s interest in using that public space.”
      Opp’n at 11. The City acknowledges that it is not necessarily one
      particular Bulky Item that negatively affects the public’s interests, but
      rather “the accumulation of these items in the aggregate that justifie[s]
      their removal from the public right of way.” Id. at 11-12. As a general
      principal, the City is correct that “neither a warrant nor probable
      cause, nor, indeed, any measure of individualized suspicion, is an
      indispensable component of reasonableness in every circumstance.”
      Nat’l Treasury Employees Union v. Von Raab, 489 U.S. 656, 665 (1989).
      And as the City indicates, the Supreme Court has established random
      checkpoints and drug testing as situations where individualized
      suspicion is not necessary. See Michigan Dep’t of State Police v. Sitz,
      496 U.S. 444, 449-51 (1990) (sobriety checkpoints do not violate the
      Fourth Amendment because the “magnitude of the drunken driving
      problem [and] the States’ interest in eradicating it” outweighs the
      “slight” “intrusion on motorists stopped briefly at sobriety
      checkpoints”); United States v. Martinez-Fuerte, 428 U.S. 543, 557
      (1976) (border checkpoints do not violate the Fourth Amendment


      makes it unlawful to dump waste, “do[es] not authorize property removal,”
      Opp’n at 24.
      15To that end, the City’s example is illustrative. Assuming the Fourth
      Amendment applied to the cited airline, while the airline might be able to
      limit the size of carry-on bags, it would not be able to take and throw away
      carry-on bags that exceeded the size limit.



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      because “the need to make routine checkpoint stops is great” and “the
      consequent intrusion on Fourth Amendment interests is quite limited”);
      Von Raab, 489 U.S. at 677 (drug testing by government employer does
      not violate Fourth Amendment where employees “seek to be promoted
      to positions that directly involve the interdiction of illegal drugs or that
      require the incumbent to carry a firearm”). But these limited
      exceptions carved out by the Supreme Court do not support the
      proposition that a reasonableness balancing test has in every situation
      replaced the warrant or exception standard. 16 Rather, as Plaintiffs
      point out, the Ninth Circuit has explicitly “decline[d] to establish a
      general exception to the Fourth Amendment’s warrant requirement for
      conduct that, absent special needs consistent with the Supreme Court’s
      precedents, is asserted to be ‘reasonable.’” Menotti v. City of Seattle,
      409 F.3d 1113, 1154 (9th Cir. 2005); see also City of Los Angeles, Calif.


      16 In any event, the reasoning behind these cases is distinguishable. Unlike
      the temporary stop in Michigan Department and Martinez-Fuerte, or the
      “trace amount of cocaine” destroyed in Jacobsen, homeless individuals’
      interest in their property, including Bulky Items, is anything but “slight,”
      “limited,” or “unnoticed.” See Lavan, 693 F.3d at 1032 (“For many of us, the
      loss of our personal effects may pose a minor inconvenience. However, . . .
      the loss can be devastating for the homeless” (alteration in original) (quoting
      Pottinger, 810 F. Supp. at 1559)). Plaintiffs have demonstrated the
      importance of these items to the people who own them. See, e.g., Ashley
      Decl. ¶ 5 (uses cart “to pick up groceries and supplies I need to survive”);
      Diocson Decl. ¶¶ 7, 17 (dog cage “gave [him] peace of mind and made it
      possible to keep [his dog] with [him] while [he] was sleeping in [his] tent” and
      storage bins “use[d] to store [his] belongings and to keep them dry”); Price
      Decl. ¶ 10 (pallets and a foam cushion that homeless individual uses to sleep
      on); Bettega Decl. ¶¶ 6, 9, 11 (bicycle necessary to get to her job, “crates to
      make herself a bed so that she could stay off the wet ground,” and bins to
      keep her belongings dry). The City mischaracterizes this footnote as
      improperly “concluding that all Bulky Items are life necessities.” Objs. to
      Tentative Order at 2. The Court provides these examples only to
      demonstrate that homeless individuals’ interests in their property are not
      “slight,” “limited,” or “unnoticed.” It asserts no conclusions about “all Bulky
      Items.”



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      v. Patel, 576 U.S. 409 (2015) (noting that the Supreme Court has
      established warrant exceptions, such as the administrative search
      exception, “where special needs . . . make the warrant and probable-
      cause requirement impracticable . . . and where the ‘primary purpose’
      of the searches is ‘[d]istinguishable from the general interest in crime
      control’” (internal citations and quotation marks omitted) (first and
      third alteration in original)).

             The only Supreme Court case cited by the City applying a
      balancing test to the permanent seizure of property, United States v.
      Jacobsen, 466 U.S. 109, 125 (1984), has been limited by the Ninth
      Circuit to situations where the seized property was entirely
      contraband. See United States v. Young, 573 F.3d 711, 720-21 (9th Cir.
      2009) (declining “to expand Jacobsen’s decision to warrantless searches
      of private residences” and distinguishing Jacobsen on the grounds that
      “neither the hotel room nor the backpack contained only contraband”).
      The City contends that the Ninth Circuit in Lavan “fram[ed] [the]
      inquiry as whether City ‘acted reasonably under the Fourth
      Amendment.’” Opp’n at 13; see also Objs. to Tentative at 3 n.5 (The
      Ninth Circuit “applied a ‘reasonableness’ (not warrant-or-exception)
      standard to the seizure of property of persons experiencing
      homelessness.”). However, the only issue necessarily decided by the
      Ninth Circuit was that “the unattended property of homeless persons is
      [not] uniquely beyond the reach of the Constitution, so that the
      government may seize and destroy with impunity the worldly
      possessions of a vulnerable group in our society.” Lavan, 693 F.3d at
      1033. Nevertheless, the Court acknowledges that the Ninth Circuit
      noted its approval of the district court’s balancing of the “possessory
      interests in [homeless plaintiffs’] personal belongings against the City’s
      reasons for taking the property to conclude that [plaintiffs]
      demonstrated a strong likelihood of success on the merits of their claim
      that by collecting and destroying [plaintiffs’] property on the spot, the
      City acted unreasonably in violation of the Fourth Amendment.” Id. at
      1030. In Lavan, the district court held that the seizures of homeless
      individuals’ unattended property violated the Fourth Amendment
      because the City’s interest in keeping the City clean and safe was not



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      sufficient to render reasonable the deprivation of plaintiffs’ property.
      Lavan v. City of Los Angeles, 797 F. Supp. 2d 1005, 1015 (C.D. Cal.
      2011). It noted that at least four other district court cases that
      “considered the issue . . . found that similar conduct, even by the same
      defendant in this case, violated the Fourth Amendment despite an
      inherent interest in keeping public areas clean and prosperous.” Id.
      (collecting cases). In any event, whether the Court requires a warrant
      or an exception or employs a reasonableness balancing test, the result
      is the same – Plaintiffs are likely to succeed on their Fourth
      Amendment claim.

             The City contends that the Court “hardly references the
      countervailing evidence submitted by Defendants, consisting of 12
      declarations and hundreds of pages” and “dismissed [some of the City’s
      evidence] out-of-hand on the basis that it appears inconsistent with
      Plaintiffs’ declarations.” Objs. to Tentative at 2. But the Court did not
      disregard the City’s evidence because it was “countervailing” or
      “inconsistent,” but rather because the City failed to show why its
      evidence was relevant. For example, four of the declarations and
      nearly two hundred pages are dedicated solely to authenticating
      pictures of homeless encampments with items stored in public areas.
      See Guerrero Decl.; Pereida Decl.; Dkt. 42-11 (Ramirez Decl.); Dkt. 42-
      12 (Rankin Decl.). That a large number of items are stored in public
      places by homeless residents is undisputed, but the City does not
      sufficiently address how this fact renders seizures pursuant to the
      Bulky Item Provision constitutional. Another declaration describes the
      Harbor City Greenway project that was purportedly derailed because of
      vandalism, theft, and illegal activities in the area. Dkt. 42-4 (Haines
      Decl.). Although that was certainly unfortunate, the City again fails to
      adequately address how the increase in crime and presence of homeless
      people, some of whom may be participating in illegal activity, provides
      justification for seizing and throwing away Bulky Items. The Bulky
      Item Provision has no bearing on the City’s power to prosecute
      individuals who commit crimes such as vandalism or theft. Five other
      declarations describe the personal experience of City employees who
      receive complaints from residents about, and frequently encounter,



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      Bulky Items. Dkt. 42-3 (Medina Decl.); Dkt. 42-7 (Rodriguez Decl.);
      Dkt. 42-8 (Banks Decl.); Dkt. 42-9 (Bernal Decl.); Dkt. 42-10 (Diaz
      Decl.). The declarations describe problems relating to the accumulation
      of “large items in the public right of way that are larger than could fit
      in a 60-gallon container with the lid closed,” but they 1) describe
      scenarios that could be addressed without with Bulky Item Provision or
      2) do not clarify whether the described Bulky Items appear to be
      someone’s property or the result of dumping. 17 See, e.g., Medina Decl.
      ¶ 4 (describing Bulky Items that “block[] access for individuals with
      disabilities, . . . impede sidewalks, driveways, access to alleys, and
      parking spaces.”); id. ¶ 6 (“[T]he chronic and recurring presence of
      these large items on the sidewalk . . . poses a danger to children when
      they are forced to walk into the street”); id. ¶ 7 (“[T]he accumulation of
      such items makes it difficult for trash collection and emergency
      vehicles to access this area”); Rodriguez Decl. ¶ 3 (describing “children
      walking to school [that] are accompanied by a parent with a younger
      child in a stroller, or an elderly grandparent, and they are all forced to
      walk along the street curb or next to parked cars in the street to
      navigate around large items obstructing the sidewalks”); id. ¶ 4 (“The
      accumulation of such large items [near homeless encampments] can
      make it difficult to pass through these alleys, and can make it more
      onerous for trash collectors to service the trash bins in those alleys”);
      Banks Decl. ¶ 7 (describing constituent complaint about “a man using a
      wheelchair [who] had trouble traversing the sidewalk due to the
      presence of the structure”). Taken together, the City’s evidence
      identifies varied and widespread problems relating to homeless people,
      including increased crime and accumulation of items on sidewalks, but
      does not explain why those issues cannot be addressed by other
      provisions of the Ordinance (or other ordinances or statutes) or how the

      17The City refers to items that are clearly dumped or abandoned, such as
      “mattresses, couches, doors, carpet, toilets, electrical waste and other
      furniture and large items” that were collected from “residential and multi-
      family residential buildings,” as Bulky Items. See Wong Decl. ¶¶ 41-42.
      When City employees refer to Bulky Items, therefore, it is not clear that they
      are referring to items for which Fourth Amendment protections apply.



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      existence of those problems justifies the Bulky Item Provision as the
      solution. The City’s evidence, when balanced against homeless
      residents’ interests in not having their property seized and destroyed,
      would not make seizures pursuant to the Bulky Item Provision
      reasonable.

             Next, the City contends that Plaintiffs have failed to analyze the
      constitutionality of the part of the Bulky Item Provision that applies to
      unattended items. Opp’n at 15. As noted in the 12(b)(6) Order, LAMC
      § 56.11(3)(a) permits the City, with pre- and post-removal notice, to
      impound any unattended property regardless of size. Id. at 10. 18
      Therefore, the only work the Bulky Item Provision does as to
      unattended items is to permit the immediate destruction of unattended
      items over a certain size without having to provide any notice. As the
      Court previously held, and consistent with Ninth Circuit precedent,
      this is unreasonable. See Lavan, 693 F.3d at 1030 (“[E]ven if the
      seizure of the property would have been deemed reasonable had the
      City held it for return to its owner instead of immediately destroying it,
      the City’s destruction of the property rendered the seizure
      unreasonable.”). For these reasons and the reasons stated in the
      12(b)(6) Order, the seizure and immediate destruction of Bulky Items
      only because they are Bulky Items is unreasonable.

             To the extent the City contends that it is too complex to
      determine whether an item is attended, unattended, or abandoned,
      that is not a reason to keep the Bulky Item Provision in place. The City
      must already determine whether items are abandoned or unattended in
      enforcing each of the Ordinance’s provisions, as well as various other
      statutes and ordinances. See, e.g., Cal. Civ. Code § 2080 et seq. The
      Bulky Item Provision relieves the City from making this determination
      for items of a certain size, which surely makes it easier to clean up
      sidewalks. But a rule that permitted deprivation of property by the
      government whenever it simply made its job easier would eviscerate


      18Plaintiffs have not sought – and the Court has not imposed – an injunction
      as to LAMC § 56.11(3)(a).



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      the Fourth Amendment. 19 And just because the City may on occasion
      incorrectly determine that unattended property is abandoned does not
      justify seizing and destroying property that the City knows or
      reasonably believes is unattended but not abandoned. The Court
      agrees with the district court in Lavan that it is sufficient if the City
      employee has “an objectively reasonable belief that it is abandoned.”
      797 F. Supp. 2d at 1020. Moreover, it is unclear why the City continues
      to attack “Plaintiffs’ view” that all items in an area with encampments
      must be treated as either attended or unattended personal property.
      Opp’n at 16. To be clear, Plaintiffs do not make this argument. To the
      contrary, Plaintiffs explicitly acknowledge that items near
      encampments can constitute trash (because there are not enough trash
      cans near encampments) or abandoned property from individuals not
      living at the encampments. See, e.g., Diocson Decl. ¶ 5 (“Sometimes
      people also dump their trash in the area”); Dkt. 48-3 (Flowers Decl.) ¶ 5
      (“There is a lot of illegal dumping that happens on the street where I
      stay. . . . When people dump their stuff, the trash just sits there. There
      are no trashcans anywhere around, so the trash just piles up.”). The
      City must make a reasonable determination as to whether items are
      unattended, abandoned, or trash. The City’s focus on “what the Court
      would consider to be ‘trash’ in the case of Bulky Items on public
      sidewalks,” Objs. to Tentative at 3, is misplaced. The preliminary
      injunction does not apply to items that the City reasonably determines
      are abandoned property or trash. Finally, to the extent the City
      contends that unattended property is deserving of less protection than
      attended property, that proposition has already been rejected by the
      Ninth Circuit. Lavan, 693 F.3d at 1024 (“[T]he Fourth and Fourteenth
      Amendments protect homeless persons from government seizure and
      summary destruction of their unabandoned, but momentarily
      unattended, personal property”).




      19The City faults the Court for “dismiss[ing] as irrelevant the complexity of
      making such determinations,” Objs. to Tentative at 3, but does not provide a
      convincing or coherent argument explaining why it would be relevant.



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            The City again raises the practical concerns of having to store all
      Bulky Items for a limited period of time. Opp’n at 17-18. This was
      previously rejected by the Court, 12(b)(6) Order at 11, and remains
      unconvincing. Accepting the City’s position would mean that once City
      storage facilities, or lost and found boxes, or evidence lockers were full,
      any property seized thereafter by the government could be summarily
      destroyed. That does not comport with the Fourth Amendment. 20

            There is certainly no dispute that homelessness is a significant
      issue affecting Los Angeles (and other cities around the country) and
      nothing in this Order prevents the City from using its resources to
      create “shelters or other facilities to provide services and address the
      humanitarian crisis facing the City.” Opp’n at 18. 21 However, even in
      passing LAMC 56.11, the City recognized that some Los Angles citizens
      will not be able to obtain housing or have other places to store their
      belongings. Id. (acknowledging the “needs of the individuals[] who
      have no other alternatives for the storage of personal property”).
      Although the City would understandably prefer homeless residents not
      “appropriate[]” public areas, particularly areas that the City spent
      millions of dollars revitalizing, see Opp’n at 13, the Bulky Item
      Provision cannot be the solution to that problem. 22




      20 In support of this argument, the City submits evidence that “less than 15%
      of items that the City does store are ever retrieved.” Opp’n at 17 (citing
      Wong Decl. ¶¶ 22, 51, Ex. 3). However, that evidence could just as easily
      support the inference that the City is not doing enough to inform homeless
      individuals how and where to get their property back as whatever the City
      intends the Court to infer.
      21 The Court doubts that the only two options to balance the needs of the
      homeless and the cleanliness of the streets are the ones the City identifies in
      its Opposition. Opp’n at 17-19.
      22Nor has it been. Given that the Bulky Item Provision was in place at all
      relevant times, it is clear that the presence of the Bulky Item Provision did
      not avoid the unfortunate outcome described by the City.



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            Plaintiffs are likely to succeed on their claim that the Bulky Item
      Provision violates the Fourth Amendment’s prohibition on illegal
      seizures on its face.

            2.     Due Process

            Because the Bulky Item Provision permits the City to remove and
      permanently destroy Bulky Items without any procedural safeguards
      whatever, Plaintiffs are likely to succeed on the merits of their due
      process claim under both the Fourteenth Amendment and the
      California Constitution. 23 See 12(b)(6) Order at 12-16 (analyzing
      whether Plaintiffs had sufficiently alleged a facial challenge to the
      Bulky Item Provision under the Fourteenth Amendment). The City’s
      focus on what process is due, Opp’n at 19-22, is misplaced. The
      challenged provision provides no process at all. 24 Therefore, whatever
      process is due, the Bulky Item Provision does not provide it. 25


      23 “The language of Article I § 7 of the California Constitution is virtually
      identical to the Due Process Clause of the United States Constitution, with
      the caveat that California courts place a higher significance on the dignitary
      interest inherent in providing proper procedure.” Nozzi v. Hous. Auth. of
      City of Los Angeles, 806 F.3d 1178, 1190 n.15 (9th Cir. 2015) (internal
      quotation marks and citations omitted), as amended on denial of reh’g and
      reh’g en banc (Jan. 29, 2016). The Court will address Plaintiffs’ federal and
      state due process claims together, as it is unnecessary to take the additional
      factor into account here.
      24The City’s argument that the statute itself constitutes sufficient process,
      Opp’n at 19 (citing Texaco, Inc. v. Short, 454 U.S. 516, 537 (1982)), has no
      merit. In Texaco, the statute was self-executing based on the inaction of the
      property owner and the Court noted that even then, before the deprivation of
      property becomes permanent, “the full procedural protections of the Due
      Process Clause—including notice reasonably calculated to reach all
      interested parties and a prior opportunity to be heard—must be provided.”
      454 U.S. at 534.
      25The City seems to assume that individualized pre-deprivation notice and a
      hearing would be required. Opp’n at 21-22. This Order should not be read to
      impose such a requirement. As noted in the 12(b)(6) Order, the Court’s


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             The Court additionally notes that the City’s analysis of the risk of
      erroneous deprivation, Opp’n at 21, glosses over crucial details. City
      employees apparently do not measure items and determine their
      volume before summarily seizing and destroying them, compounding
      the risks of erroneous deprivation because the items no longer exist to
      be measured. And as Plaintiffs note, the Bulky Item Provision contains
      certain exceptions that require City employees to exercise additional
      discretion, such as whether a bike is “operational” or a tent is
      “constructed.” Dkt. 48 (Reply) at 8. Moreover, the City contends that if
      a mistake was made, that would not be an erroneous deprivation, but
      rather “an unauthorized application.” Opp’n at 21 (citing Hudson v.
      Palmer, 468 U.S. 517, 533 (1984)). If this were true, there could never
      be an erroneous deprivation, because each such deprivation could be
      reframed as an unauthorized application. Hudson does not address the
      risk of erroneous deprivation standard; it merely holds that due process
      does not require pre-deprivation process where the deprivation
      occurred due to a government employee’s intentional and unauthorized
      action so long as meaningful post-deprivation process is available. Id.
      at 533. 26 The Bulky Item Provision provides for no post-deprivation
      process at all.

      C.    Irreparable Harm

            The Ninth Circuit does “not require a strong showing of
      irreparable harm for constitutional injuries.” Cuviello v. City of

      conclusion that by providing no process at all the procedural due process
      clause is violated does not dictate what process is due. The City apparently
      seeks guidance from the Court as to what process would suffice. Objs. to
      Tentative at 1 n.3. But the Court may not issue an advisory opinion; it may
      adjudicate only “concrete legal issues, presented in actual cases, not
      abstractions.” Montana Envtl. Info. Ctr. v. Stone-Manning, 766 F.3d 1184,
      1188 (9th Cir. 2014) (quoting Colwell v. Dep’t of Health & Human Servs., 558
      F.3d 1112, 1123 (9th Cir. 2009)).
      26In addition, Hudson applies only to situations where the deprivation was
      unpredictable, Zimmerman v. City of Oakland, 255 F.3d 734, 738-39 (9th Cir.
      2001), which is certainly not the case with the Bulky Item Provision.



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      Vallejo, 944 F.3d 816, 833 (9th Cir. 2019). Nevertheless, Plaintiffs have
      made a strong showing here.

             Plaintiffs provide evidence that Ashley and Diocson “are
      frequently subjected to City sweeps, and every time they are subjected
      to a sweep, they are at risk of having their constitutional rights
      violated by the enforcement of the Bulky Item Provision.” Mot. at 15.
      Further, “the irreparable harm . . . is compounded by the fact that the
      constitutional violations result[] in the actual and permanent
      deprivation of their belongings.” Id. The City does not dispute that
      such harm is irreparable, but contends that it is not imminent. Opp’n
      at 22-23. The City’s argument rests on its position rejected above that
      Plaintiffs have not “shown that they have suffered any harm from the
      enforcement of the Bulky Item Provision.” Id. at 23. But as explained
      in the Court’s prior Order, that the Bulky Item Provision may be
      enforced during a noticed cleanup does not ameliorate its failure to
      provide due process. 12(b)(6) Order at 13 n.13. It is clear from both
      Plaintiffs’ and the City’s evidence that the Bulky Item Provision is
      likely to be enforced imminently against Ashley and Diocson, leading to
      the permanent destruction of their belongings. See, e.g., RJN Ex. 4, at
      2; Diocson Decl. ¶¶ 17, 19; Ashley Decl. ¶17; Wong Decl. ¶¶ 23, 45 &
      Ex. 2; Ramirez Decl. ¶ 4; Rankin Decl. ¶ 4; Medina Decl. ¶ 5.

             The City’s additional contention that its announcement of its
      intent to enforce LAMC 56.11 (and therefore the Bulky Item Provision)
      does not establish an imminent threat of irreparable injury because the
      Protocols provide adequate protection falls flat. From the declarations
      of a small handful of homeless individuals and KFA members, it is
      clear that the City does not take “extensive measures to . . . safeguard
      Bulky Items that appear to be someone’s property” in accordance with
      the Protocols. Opp’n at 23. Despite the Protocol stating that
      Sanitation will “work with the individual(s) to allow for the removal of”
      Attended Bulky Items, including providing additional accommodations
      for physically or mentally-impaired individuals, Wong Decl. Ex. 1, at
      40, the City has routinely seized and destroyed Attended Bulky Items
      that were in the process of being removed, see Ashley Decl. ¶ 11 (“As I
      was attempting to comply with LA Sanitation’s instructions to remove


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      my belongings from the area, a sanitation worker stopped me and told
      me that the carts and bedding were Bulky Items, and therefore I could
      not take them with me out of the cleanup area”); Diocson Decl. ¶¶ 11-12
      (“I was getting ready to move my belongings from the area when . . .
      Officer Lopez told me that I could not take Bella’s kennel with me”
      because “it was a bulky item and it was too big, so I wasn’t allowed to
      keep it.”); Price Decl. ¶ 9 (“The neighbor then asked if he could move
      some of Kahn’s items out of the area, and Nic asked if he could carry
      the pallets out of the area. The Sanitation workers said no, that Kahn’s
      items were bulky items and they couldn’t take them.”). 27

             Plaintiffs contend that KFA is also in imminent danger of
      irreparable harm because the Bulky Item Provision constitutes
      “ongoing harms to [its] organizational missions.” Mot. at 16-17
      (quoting S.A. v. Trump, No. 18-CV-03539-LB, 2019 WL 990680, at *9
      (N.D. Cal. Mar. 1, 2019)). As explained in detail above, enforcement of
      the Bulky Item Provision harms KFA’s mission and causes KFA to
      divert resources from advancing its mission in order to help homeless
      individuals against whom the Bulky Item Provision is being enforced.
      When KFA spends its limited resources on monitoring cleanups or
      finding or buying replacement items, it cannot spend those resources on
      advocating for housing, shelters, and other services for the homeless
      pursuant to its mission. The harm caused by not engaging in such
      activities is intangible and not compensable. This intangible injury
      constitutes irreparable harm. See E. Bay Sanctuary Covenant, 950


      27 The City contends that this paragraph “creates ambiguity for enforcement”
      because the City provided “at least 24-hour notice” for the clean-ups
      described by Plaintiffs and therefore the City is “uncertain whether the
      notices were deficient as to the removal or disposal of items, or both.” Objs.
      to Tentative at 1 n.3. But this paragraph has nothing to do with clean-up
      notices. It addresses the City’s argument that the Protocols provide
      additional protections absent from the Bulky Item Provision. And this Order
      draws no conclusions as to whether specific pre-seizure notices were deficient.
      That is not an issue properly before the Court because the Bulky Item
      Provision provides for no process at all.



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      F.3d at 1280 (Intangible injuries, such as “suffer[ing] a significant
      change in their programs” constitutes irreparable harm); Valle del Sol
      Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013) (sufficient showing
      of irreparable harm where “the organizational plaintiffs have shown
      ongoing harms to their organizational missions as a result of the
      statute”).

             The City also contends, in a footnote, that the harm cannot be
      imminent because Plaintiffs did not file this Motion until seven months
      after filing their complaint. Opp’n at 23 n.6. The Court believes that
      delay is not unreasonable, particularly where Plaintiffs sought
      expedited discovery in order to determine whether to seek a
      preliminary injunction. See Dkt. 29.

             The City further contends it was “prejudiced by the Court
      declining to consider changes to the City’s enforcement procedures as a
      result of COVID-19, which are relevant to the analysis of Plaintiffs’
      alleged imminent harm and other elements of the PI motion.” Objs. to
      Tentative at 4 (citing Dkt. 52 at 4). This significantly misstates the
      facts. On March 30, 2020, the City filed objections to some of the
      evidence Plaintiffs submitted in support of their reply brief. Dkt. 52
      (Def.’s Objs. to Pls.’ Reply). Within that filing, the City stated “[i]f the
      Court considers Plaintiffs’ new reply evidence, then the City should be
      afforded an opportunity to respond, including submission of evidence
      regarding the City’s emergency orders, compliance with the ‘Safer at
      Home’ emergency orders, the Los Angeles County Department of Public
      Health and CDC guidelines, and changes to the City’s operations as a
      result of COVID-19.” Id. at 4 (footnote omitted). The City did not
      request leave to file a supplemental brief describing changes to the
      City’s enforcement procedures or the impact of COVID-19 on the issues
      relevant to this Order. 28 Rather, buried within objections to evidence,

      28In any event, even if the “new policies” suspended enforcement of the Bulky
      Item Provision, that would not impact this order given that the City could
      start enforcing the Bulky Item Provision again at any time. See F.T.C. v.
      Affordable Media, 179 F.3d 1228, 1237 (9th Cir. 1999) (“[I]t is actually well-
      settled ‘that an action for an injunction does not become moot merely because


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      the City conditioned its request on the Court’s consideration of certain
      “new” evidence raised by Plaintiffs in reply. Because the Court did not
      consider the reply evidence related to COVID-19, the City’s request was
      moot. Had the City believed it had new evidence relevant to this
      Motion, it should have filed a request for leave to file a supplemental
      brief as soon as practicable. For whatever reason, the City did not do
      so. It cannot now claim it was prejudiced.

      D.    Balance of Equities and Public Interest

             Plaintiffs contend that “the public interest is best served by
      enjoinging [sic] unconstitutional or unlawful ordinance[s].” Mot. at 20
      (citing Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012)).
      Plaintiffs further note that the Bulky Item Provision is likely to be
      enforced not just against Plaintiffs, but also against “the more than
      9000 people who are compelled to live on the streets in Los Angeles,”
      which further supports the conclusion that enjoining enforcement of the
      Bulky Item Provision is in the public interest. Id. (citing Klein v. City
      of San Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009)). The City
      contends that it has a “substantial and legitimate” “health, safety, and
      welfare interest in the enforcement of the Bulky Item provision.” Opp’n
      at 25. However, as Plaintiffs point out, and the City does not address,
      the City (or the public) can have no interest in the enforcement of a


      the conduct complained of was terminated, if there is a possibility of
      recurrence, since otherwise the defendant[]s would be free to return to [their]
      old ways’” (second alteration in original) (quoting F.T.C. v. Am. Standard
      Credit Sys., Inc., 874 F. Supp. 1080, 1087 (C.D. Cal. 1994))); see also Disney
      Enters., Inc. v. Redbox Automated Retail, LLC, 336 F. Supp. 3d 1146, 1158
      (C.D. Cal. 2018) (“[Defendant’s] voluntary decision not to sell certain Codes
      up to this point in time does not demonstrate a lack of irreparable harm”);
      Nestle USA, Inc. v. Gunther Grant, Inc., No. CV-13-6754 MMM (ASX), 2014
      WL 12558008, at *18 n.77 (C.D. Cal. May 13, 2014) (concluding that plaintiff
      demonstrated it will suffer irreparable harm absent entry of an injunction
      even though defendant voluntarily stopped infringing Plaintiff’s trademarks
      because that voluntary decision “does not convince the court that they are not
      likely to infringe [plaintiff’s] marks in the future”).



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      provision that is likely to be found unconstitutional. See Lavan v. City
      of Los Angeles, No. CV 11-2874 PSG (AJWx), 2011 WL 1533070, at *6
      (C.D. Cal. Apr. 22, 2011) (“[T]he public interest is served by issuance of
      a TRO in that the City will still be able to lawfully seize and detain
      property, as opposed to unlawfully seizing and immediately destroying
      property”). Moreover, as other courts have held, the constitutional
      rights of homeless individuals outweigh the potential hurdles the
      injunction might pose to the City’s efforts to keep the sidewalks clean.
      See, e.g., id. at *5 (“[T]he City’s interest in having clean parks is
      outweighed by the more immediate interest of the plaintiffs in not
      having their personal belongings destroyed.” (quoting Pottinger v. City
      of Miami, 810 F.Supp. 1551, 1573 (S.D. Fla. 1992))); Justin, 2000 WL
      1808426, at *11 (risk of violation of constitutional rights outweighs risk
      that injunction may slow city’s efforts to keep the city clean and safe
      and may disturb the city’s “new initiative to revitalize and uplift
      communities, to improve the streets and sidewalks, and to diminish the
      crime rate”). The balance of the equities and the public interest tip
      sharply in Plaintiffs’ favor.

            The City contends that the requested injunction would
      “essentially enshrine Bulky Items in constitutional protection and
      prevent them from being removed from public areas in the City.” Opp’n
      at 24. This is obviously untrue. The requested injunction would
      merely require the City to treat Bulky Items like every other item
      stored in public areas, permitting removal in a number of
      circumstances, including when items are unattended, blocking the
      sidewalk, or a threat to health and safety. Similarly, nothing in the
      requested injunction would hinder the determinations the City
      presumably makes on a daily basis as to whether items are unattended
      or abandoned. Nor would it require the City “to obtain warrants,
      articulate an exception on item-by-item basis, and give notice and
      hearing opportunities before collecting any Bulky Item.” Id.

            Next, the City appears to contend that it has no other authority
      to remove and throw away trash and other abandoned or dumped
      items. Id. This cannot possibly be true. If it were, the City would not
      currently be able to remove or throw away anything too small to


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      constitute a Bulky Item or anything excluded from the definition of a
      Bulky Item. That proposition is absurd.

             Finally, the City contends that “the injunction Plaintiffs seek
      would not provide sufficient clarity for the City to understand what
      justifications would be sufficient to remove a Bulky Item.” Id. at 25.
      Again, the City’s argument has no merit. An injunction enjoining
      enforcement of a specific provision of a specific ordinance could not be
      clearer. 29 The injunction sought in the case cited by the City was
      nothing like the injunction sought here. In that case, homeless
      plaintiffs sought to enjoin enforcement of various unlisted statutes and
      ordinances only against homeless plaintiffs and only “for life-sustaining
      activities such as sleeping, sitting or remaining in a public place.”
      Joyce v. City & Cty. of San Francisco, 846 F. Supp. 843, 851 (N.D. Cal.
      1994). The district court noted that the phrase “such as” was
      “malleable” and therefore the proposed injunction was “fundamentally
      uncertain as to what conduct would be immunized from governmental
      prohibition.” Id. Here, there is no malleable phraseology. The City
      simply may not enforce two provisions of the Ordinance. Given that
      the City has repeatedly pointed out that the Ordinance has a
      severability provision, Dkt. 22 (12(b)(6) Mot.) at 7 n.7; Opp’n at 16, the
      City can certainly comprehend how to enforce the Ordinance if ordered
      not to enforce certain of its provisions.

            The City also appears concerned with what this Order may mean
      for the constitutionality of the other provisions in the Ordinance. See
      Objs. to Tentative at 2 (“As a practical matter, when the Order is
      considered in light of the reasoning that underpins it, it is unclear
      when the City may or may not remove items that exceed 60 gallons in
      the public right of way”); id. at 3 (City expressing concern that
      requiring a warrant or warrant exception “cannot be reconciled” with


      29The City’s contention that it is unclear whether certain items can be
      removed under other provisions of the Ordinance, Opp’n at 25, is wrong. The
      injunction obviously applies only to the two specified provisions and not any
      other provision.



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      other provisions governing items that are unattended, blocking the
      sidewalk, or a threat to health and safety”); id. at 4-5 (City expressing
      confusion as to whether certain applications of the health and safety
      provision of the Ordinance would be constitutional). But the other
      provisions of the Ordinance are not before the Court and the
      preliminary injunction issued here does not enjoin any conduct other
      than what is explicitly identified below, i.e., enforcement of the Bulky
      Item Provision and the related penalty provision. The Court does not
      opine on the constitutionality of other provisions of the Ordinance; only
      the provisions explicitly listed below are the subject of the preliminary
      injunction issued here.

            For the foregoing reasons, IT IS ORDERED that the request for
      a preliminary injunction is GRANTED as follows:

                       IV. PRELIMINARY INJUNCTION

            The City of Los Angeles, and its agents and employees, are
      enjoined from doing any of the following:

            1.    Enforcing Section 56.11(3)(i) of the Los Angeles Municipal
                  Code;

            2.    Enforcing Section 56.11(10)(d) of the Los Angeles Municipal
                  Code;

            3.    Posting signs, notices, or other public information stating
                  that the City will enforce Sections 56.11(3)(i) or
                  56.11(10)(d) of the Los Angeles Municipal Code.

                                      V. Bond

             Plaintiffs contend that no bond should be required, and the City
      does not argue otherwise. The Ninth Circuit has held that Federal
      Rule of Civil Procedure 65(c) invests “the district court with discretion
      as to the amount of security required, if any.” Barahona-Gomez v.
      Reno, 167 F.3d 1228, 1237 (9th Cir. 1999), supplemented, 236 F.3d
      1115 (9th Cir. 2001). Plaintiffs presumably have minimal financial




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      means and the City has not stated it would suffer any financial harm;
      therefore, the Court will not require a bond.

         IT IS SO ORDERED.



      Date: April 13, 2020                   ___________________________
                                             Dale S. Fischer
                                             United States District Judge




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